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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                                                      :
    Sucesión Simon Diaz Marquez,                      :
                                                      :
            Plaintiff,                                :
                                                      :   Civil Action No. 1:23-cv-23933-FAM
                            v.                        :
                                                      :
    Miami Fine Foods, LLC and Avi Assor,              :
                                                      :
            Defendants.                               :
                                                      :

          SUCESIÓN SIMON DIAZ MARQUEZ’S RESPONSES AND OBJECTIONS
           TO MIAMI FINE FOODS, LLC’S FIRST SET OF INTERROGATORIES

           Pursuant to Federal Rule of Civil Procedure 33, Plaintiff, Sucesión Simon Diaz Marquez

   (“Plaintiff”) hereby responds and objects to Defendant Miami Fine Foods, LLC’s (“Defendant”)

   First Set of Interrogatories.

                            COMMENTS AND GENERAL OBJECTIONS

           1.      Plaintiff incorporates by reference its Responses and Objections to Miami Fine

   Foods, LLC’s First Set of Requests for Production of Documents and First Set of Requests for

   Admission, served concurrently herewith.

           2.      Plaintiff objects to the Interrogatories to the extent that they contain multiple

   discrete subparts. To the extent that an Interrogatory contains multiple discrete subparts, each

   subpart shall be counted separately and shall count towards the total number of Interrogatories

   authorized to be served pursuant to Fed. R. Civ. P. 33(a)(1).

           3.      Plaintiff objects to the Interrogatories, as well as the definitions of terms and

   instructions thereto, to the extent that Defendant seeks to impose an obligation greater than that
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   imposed by the relevant Federal Rules of Civil Procedure or other applicable law. Responses will

   be provided to the extent required by the applicable rules.

          4.      Plaintiff objects to the definition of “You”, “Your”, “Plaintiff”, “Counter-

   Defendant”, “Estate”, and “Sucesión Simon Diaz Marquez” as encompassing entities or

   individuals other than the named Plaintiff, Sucesión Simon Diaz Marquez. To the extent any

   response herein refers to “You”, “Your”, “Plaintiff”, “Counter-Defendant”, “Estate”, or “Sucesión

   Simon Diaz Marquez”, that response should be construed as referring strictly to the named

   Plaintiff, Sucesión Simon Diaz Marquez.

          5.      To the extent any response references “Plaintiff’s Marks” that response should be

   construed as referring to the marks of Application Serial Nos. 97/296,359 and 97/568,611.

          6.      Plaintiff objects to the definitions of “Document” and “Documents” to the extent

   that such definitions encompass materials (i) not in Plaintiff’s possession, custody, or control, (ii)

   equally available to Defendant, (iii) or otherwise available to Defendant from a less burdensome

   or expensive source than Plaintiff. Plaintiff further objects to the definitions of “Document” and

   “Documents” to the extent that such definitions encompass documents and/or information subject

   to and protected by the attorney-client privilege, work product protection, and/or any other

   applicable privilege or immunity.

          7.      Plaintiff objects to the definition of “all documents” in that it is overly broad,

   unduly burdensome, and not proportionate to the needs of this case.

          8.      Plaintiff objects to the definition at paragraph (R)(9) in that “a complete citation of

   all reported and unreported decisions resulting from the litigation or proceeding” is vague and

   ambiguous such that Plaintiff cannot ascertain what is being requested. Further, this definition is

   overbroad and seeks information that is not proportionate to the needs of this case.



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           9.     Plaintiff objects to the definition at paragraph (R)(10) to the extent that it seeks

   information that is confidential or otherwise protected by the attorney-client privilege, work

   product protection, and/or any other applicable privilege or immunity.

           10.    Plaintiff objects to the definition at paragraph (S)(4) to the extent that Defendant

   seeks information regarding future plans for use of a mark, which is not relevant and protected as

   a trade secret and/or confidential.

           11.    Plaintiff objects to the definition at paragraph (CC) in that the proposed time period,

   2012 to the present, is overly broad, unduly burdensome, and not proportionate to the needs of this

   case.

           12.    To the extent Plaintiff responds to any of the Interrogatories by offering to produce

   documents, that response should be construed to mean that Plaintiff will produce responsive, non-

   privileged, properly discoverable documents if they are found to exist after a reasonable search of

   locations where they are expected to be kept in the ordinary course of business, from which the

   answer to the Interrogatory may be determined by examination, audit, compilation, abstraction, or

   summary, the burden of which will be substantially the same for either party.

           13.    Any inadvertent disclosure of privileged, immune, or otherwise protected

   documents or information will not constitute a waiver of the privilege, immunity, or protection.

           14.    By offering to produce a document or by producing a document, Plaintiff does not

   admit that the document is relevant or admissible at a hearing or trial, e.g., as authentic or as

   coming within an exception to the hearsay rule.

           15.    Plaintiff reserves the right to supplement, amend, or modify its responses in

   accordance with Fed. R. Civ. P. 26(e), as it obtains additional information and uncovers additional

   documents.



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          Subject to these Comments and General Objections, and subject to the specific objections

   made below, Plaintiff responds as follows:

                                         INTERROGATORIES

   INTERROGATORY NO. 1:

          With respect to the Estate’s TS Mark and the Estate’s CTS Mark, (a) identify the person(s)

   most knowledgeable with respect to the adoption, use, projected use, or registration of the marks,

   (b) identify the date of first use in commerce of the marks with respect to each of the goods and

   services identified by the Estate in the Estate’s First Application and the Estate’s Second

   Application, and (c) state in detail each and every product or service identified by the Estate’s TS

   Mark and the Estate’s CTS Mark.

   RESPONSE TO INTERROGATORY NO. 1:

          Plaintiff objects to this interrogatory in that Plaintiff’s counsel filed a motion in the instant

   action to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and

   counsel have irreconcilable differences than cannot be resolved which necessitate counsel’s

   withdrawal. Accordingly, Defendant knows that Plaintiff cannot adequately respond to

   Defendant’s discovery requests at this time, but has refused to extend Plaintiff’s deadline to

   respond. Defendant’s refusal is in direct contravention with the local rules of the Court, which

   state “it is a fundamental tenet of this Court that attorneys in this District be governed at all times

   by a spirit of cooperation, professionalism, and civility…it remains the Court’s expectation that

   counsel will seek to accommodate their fellow practitioners, including in matters of scheduling,

   whenever reasonably possible.” S.D. Fla. L.R. at Introductory Statement.

          Plaintiff objects to this interrogatory as overly broad, unduly burdensome, and not

   proportionate to the needs of this case. Plaintiff objects to this interrogatory to the extent that it



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   seeks information that is protected from discovery by the attorney-client privilege, work product

   immunity, or other applicable privilege. Plaintiff objects to this interrogatory in that it calls for

   information that is at least equally available to Defendant, including through public sources.

   Plaintiff objects to this interrogatory as containing multiple discrete subparts, each of which shall

   count against the total number of interrogatories allotted under Fed. R. Civ. P. 33.

   INTERROGATORY NO. 2:

          Identify each geographic area and location in the United States in which the Estate, or

   others under the authority of the Estate, have advertised or promoted (or intends to advertise or

   promote) the products and/or services identified in response to Interrogatory No. 1, including the

   date of the advertisement, the name of the advertising agency responsible for the placement of

   such advertisement, the name of the publication(s) in which any print advertisements appeared,

   the name of the radio or television station(s) in which a broadcast advertisement was broadcast,

   and all documents relating to all such advertising or promotion. With regard to internet websites,

   identify the address or the “URL” of each website, describe what is offered on the site and when

   each item was first offered at the site, and describe in detail whether items as advertised can be

   purchased from the website or whether only information is offered at the website.

   RESPONSE TO INTERROGATORY NO. 2:

          Plaintiff objects to this interrogatory in that Plaintiff’s counsel filed a motion in the instant

   action to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and

   counsel have irreconcilable differences than cannot be resolved which necessitate counsel’s

   withdrawal. Accordingly, Defendant knows that Plaintiff cannot adequately respond to

   Defendant’s discovery requests at this time, but has refused to extend Plaintiff’s deadline to

   respond. Defendant’s refusal is in direct contravention with the local rules of the Court, which



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   state “it is a fundamental tenet of this Court that attorneys in this District be governed at all times

   by a spirit of cooperation, professionalism, and civility…it remains the Court’s expectation that

   counsel will seek to accommodate their fellow practitioners, including in matters of scheduling,

   whenever reasonably possible.” S.D. Fla. L.R. at Introductory Statement.

           Plaintiff objects to this interrogatory as overly broad, unduly burdensome, and not

   proportionate to the needs of this case to the extent that it seeks identification of every single

   advertisement and promotion. Plaintiff objects to this interrogatory in that the requested

   information is not relevant. Plaintiff objects to this interrogatory in that it calls for information that

   is at least equally available to Defendant, including through public sources. Plaintiff objects to this

   interrogatory to the extent that it seeks information that is a trade secret or confidential. Plaintiff

   objects to this interrogatory as containing multiple discrete subparts, each of which shall count

   against the total number of interrogatories allotted under Fed. R. Civ. P. 33.

   INTERROGATORY NO. 3:

           State the annual dollar amount expended by the Estate or by others under the authority of

   or at the direction of the Estate, for all advertising and promotion identified in the Estate’s response

   to Interrogatory No. 2, from the date of first use of the Estate’s TS Mark and/or the Estate’s CTS

   Mark to the present in the U.S.

   RESPONSE TO INTERROGATORY NO. 3:

           Plaintiff objects to this interrogatory in that Plaintiff’s counsel filed a motion in the instant

   action to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and

   counsel have irreconcilable differences than cannot be resolved which necessitate counsel’s

   withdrawal. Accordingly, Defendant knows that Plaintiff cannot adequately respond to

   Defendant’s discovery requests at this time, but has refused to extend Plaintiff’s deadline to



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   respond. Defendant’s refusal is in direct contravention with the local rules of the Court, which

   state “it is a fundamental tenet of this Court that attorneys in this District be governed at all times

   by a spirit of cooperation, professionalism, and civility…it remains the Court’s expectation that

   counsel will seek to accommodate their fellow practitioners, including in matters of scheduling,

   whenever reasonably possible.” S.D. Fla. L.R. at Introductory Statement.

          Plaintiff objects to this interrogatory as overly broad, unduly burdensome, and not

   proportionate to the needs of this case. Plaintiff objects to this interrogatory to the extent that it

   seeks information that is a trade secret or confidential. Plaintiff objects to this interrogatory as

   containing multiple discrete subparts, each of which shall count against the total number of

   interrogatories allotted under Fed. R. Civ. P. 33.

   INTERROGATORY NO. 4:

          Identify each person who possesses knowledge of the facts surrounding the selection,

   adoption and use of the Estate’s TS Mark and the Estate’s CTS Mark in the U.S., state in detail the

   knowledge each such person possesses, identify all documents related to the selection, adoption,

   and use of these marks, and state in detail all reasons for the selection of these marks as opposed

   to any other mark.

   RESPONSE TO INTERROGATORY NO. 4:

          Plaintiff objects to this interrogatory in that Plaintiff’s counsel filed a motion in the instant

   action to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and

   counsel have irreconcilable differences than cannot be resolved which necessitate counsel’s

   withdrawal. Accordingly, Defendant knows that Plaintiff cannot adequately respond to

   Defendant’s discovery requests at this time, but has refused to extend Plaintiff’s deadline to

   respond. Defendant’s refusal is in direct contravention with the local rules of the Court, which



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   state “it is a fundamental tenet of this Court that attorneys in this District be governed at all times

   by a spirit of cooperation, professionalism, and civility…it remains the Court’s expectation that

   counsel will seek to accommodate their fellow practitioners, including in matters of scheduling,

   whenever reasonably possible.” S.D. Fla. L.R. at Introductory Statement.

          Plaintiff objects to this interrogatory as overly broad, unduly burdensome, and not

   proportionate to the needs of this case to the extent that it seeks identification of “each person”

   with any knowledge, no matter the amount, and seeks identification of “all documents” related to

   the selection, adoption, and use of the marks and “all reasons” for the selection. Plaintiff objects

   to this interrogatory to the extent that it seeks information that is protected from discovery by the

   attorney-client privilege, work product immunity, or other applicable privilege. Plaintiff objects to

   this interrogatory to the extent that it seeks information that is a trade secret or confidential.

   Plaintiff objects to this interrogatory as containing multiple discrete subparts, each of which shall

   count against the total number of interrogatories allotted under Fed. R. Civ. P. 33.

   INTERROGATORY NO. 5:

          State Opposer’s annual gross revenue, since the date of first use identified in response to

   Interrogatory No. 1(b), for each product or service identified by the Estate’s TS Mark and/or the

   Estate’s CTS Mark in the U.S., and identify each person with knowledge of the facts set forth in

   response to this Interrogatory and state the specific knowledge that each person possesses.

   RESPONSE TO INTERROGATORY NO. 5:

          Plaintiff objects to this interrogatory in that Plaintiff’s counsel filed a motion in the instant

   action to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and

   counsel have irreconcilable differences than cannot be resolved which necessitate counsel’s

   withdrawal. Accordingly, Defendant knows that Plaintiff cannot adequately respond to



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   Defendant’s discovery requests at this time, but has refused to extend Plaintiff’s deadline to

   respond. Defendant’s refusal is in direct contravention with the local rules of the Court, which

   state “it is a fundamental tenet of this Court that attorneys in this District be governed at all times

   by a spirit of cooperation, professionalism, and civility…it remains the Court’s expectation that

   counsel will seek to accommodate their fellow practitioners, including in matters of scheduling,

   whenever reasonably possible.” S.D. Fla. L.R. at Introductory Statement.

          Plaintiff objects to this interrogatory as overly broad, unduly burdensome, and not

   proportionate to the needs of this case. Plaintiff objects to this interrogatory to the extent that it

   seeks information that is a trade secret or confidential. Plaintiff objects to this interrogatory as

   containing multiple discrete subparts, each of which shall count against the total number of

   interrogatories allotted under Fed. R. Civ. P. 33.

   INTERROGATORY NO. 6:

          Describe in detail your use, intended use, or anticipated use of the Estate’s TS Mark and

   the Estate’s CTS Mark in commerce in the United States and the circumstances surrounding first

   use of such marks in connection with each of the goods and services identified in response to

   Interrogatory No. 1(c).

   RESPONSE TO INTERROGATORY NO. 6:

          Plaintiff objects to this interrogatory in that Plaintiff’s counsel filed a motion in the instant

   action to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and

   counsel have irreconcilable differences than cannot be resolved which necessitate counsel’s

   withdrawal. Accordingly, Defendant knows that Plaintiff cannot adequately respond to

   Defendant’s discovery requests at this time, but has refused to extend Plaintiff’s deadline to

   respond. Defendant’s refusal is in direct contravention with the local rules of the Court, which



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    state “it is a fundamental tenet of this Court that attorneys in this District be governed at all times

    by a spirit of cooperation, professionalism, and civility…it remains the Court’s expectation that

    counsel will seek to accommodate their fellow practitioners, including in matters of scheduling,

    whenever reasonably possible.” S.D. Fla. L.R. at Introductory Statement.

           Plaintiff objects to this interrogatory as overly broad, unduly burdensome, and not

    proportionate to the needs of this case to the extent that it seeks identification of the circumstances

    surrounding first use of Plaintiff’s Marks in connection with each and every one of Plaintiff’s

    goods and services. Plaintiff objects to this interrogatory in that the requested information is not

    relevant in that it seeks information related to planned future use. Plaintiff objects to this

    interrogatory to the extent that it seeks information that is a trade secret or confidential. Plaintiff

    objects to this interrogatory in that it calls for information that is at least equally available to

    Defendant, including through public sources. Plaintiff objects to this interrogatory as containing

    multiple discrete subparts, each of which shall count against the total number of interrogatories

    allotted under Fed. R. Civ. P. 33.

    INTERROGATORY NO. 7:

           Identify each person who prepared, assisted in the preparation of, provided information,

    who was consulted, or whose documents or files were consulted for the answers to the foregoing

    and following interrogatories, stating each Interrogatory that each such individual prepared,

    assisted in the preparation of, provided information for, who was consulted for, or whose

    documents or files were consulted for the answer thereto.

    RESPONSE TO INTERROGATORY NO. 7:

           Plaintiff objects to this interrogatory in that Plaintiff’s counsel filed a motion in the instant

    action to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and



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    counsel have irreconcilable differences than cannot be resolved which necessitate counsel’s

    withdrawal. Accordingly, Defendant knows that Plaintiff cannot adequately respond to

    Defendant’s discovery requests at this time, but has refused to extend Plaintiff’s deadline to

    respond. Defendant’s refusal is in direct contravention with the local rules of the Court, which

    state “it is a fundamental tenet of this Court that attorneys in this District be governed at all times

    by a spirit of cooperation, professionalism, and civility…it remains the Court’s expectation that

    counsel will seek to accommodate their fellow practitioners, including in matters of scheduling,

    whenever reasonably possible.” S.D. Fla. L.R. at Introductory Statement.

           Plaintiff objects to this interrogatory to the extent that it seeks information that is protected

    from discovery by the attorney-client privilege, work product immunity, or other applicable

    privilege. Plaintiff objects to this interrogatory as containing multiple discrete subparts, each of

    which shall count against the total number of interrogatories allotted under Fed. R. Civ. P. 33.

    INTERROGATORY NO. 8:

           Identify each non-party witness from whom you intend to seek testimony (by affidavit,

    declaration, or deposition) in connection with this proceeding and, for each, the specific topics on

    which the witness will testify and if the witness is an expert, the substance of the facts relied upon

    and opinions to which the expert is expected to testify and a summary of the grounds for each

    opinion.

    RESPONSE TO INTERROGATORY NO. 8:

           Plaintiff objects to this interrogatory in that Plaintiff’s counsel filed a motion in the instant

    action to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and

    counsel have irreconcilable differences than cannot be resolved which necessitate counsel’s

    withdrawal. Accordingly, Defendant knows that Plaintiff cannot adequately respond to



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    Defendant’s discovery requests at this time, but has refused to extend Plaintiff’s deadline to

    respond. Defendant’s refusal is in direct contravention with the local rules of the Court, which

    state “it is a fundamental tenet of this Court that attorneys in this District be governed at all times

    by a spirit of cooperation, professionalism, and civility…it remains the Court’s expectation that

    counsel will seek to accommodate their fellow practitioners, including in matters of scheduling,

    whenever reasonably possible.” S.D. Fla. L.R. at Introductory Statement.

           Plaintiff objects to this interrogatory to the extent that it seeks information that is protected

    from discovery by the attorney-client privilege, work product immunity, or other applicable

    privilege. Plaintiff objects to this interrogatory as premature in that discovery is ongoing. Plaintiff

    objects to this interrogatory as containing multiple discrete subparts, each of which shall count

    against the total number of interrogatories allotted under Fed. R. Civ. P. 33.

    INTERROGATORY NO. 9:

           State whether the Estate has licensed or intends to license the use of the Estate’s TS Mark

    and/or the Estate’s CTS Mark to any person and/or entity and identify each such person and/or

    entity and state the licensed goods or services.

    RESPONSE TO INTERROGATORY NO. 9:

           Plaintiff objects to this interrogatory in that Plaintiff’s counsel filed a motion in the instant

    action to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and

    counsel have irreconcilable differences than cannot be resolved which necessitate counsel’s

    withdrawal. Accordingly, Defendant knows that Plaintiff cannot adequately respond to

    Defendant’s discovery requests at this time, but has refused to extend Plaintiff’s deadline to

    respond. Defendant’s refusal is in direct contravention with the local rules of the Court, which

    state “it is a fundamental tenet of this Court that attorneys in this District be governed at all times



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    by a spirit of cooperation, professionalism, and civility…it remains the Court’s expectation that

    counsel will seek to accommodate their fellow practitioners, including in matters of scheduling,

    whenever reasonably possible.” S.D. Fla. L.R. at Introductory Statement.

            Plaintiff objects to this interrogatory as overly broad, unduly burdensome, and not

    proportionate to the needs of this case. Plaintiff objects to this interrogatory in that the requested

    information is not relevant. Plaintiff objects to this interrogatory to the extent that it seeks

    information that is a trade secret or confidential. Plaintiff objects to this interrogatory to the extent

    that it seeks information that is protected from discovery by the attorney-client privilege, work

    product immunity, or other applicable privilege.

    INTERROGATORY NO. 10:

            For each product and service that the Estate sells, offers for sale or intends to offer for sale

    in connection with the Estate’s TS Mark and/or the Estate’s CTS Mark, as identified in response

    to Interrogatory No. 1(c), identify the retail price.

    RESPONSE TO INTERROGATORY NO. 10:

            Plaintiff objects to this interrogatory in that Plaintiff’s counsel filed a motion in the instant

    action to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and

    counsel have irreconcilable differences than cannot be resolved which necessitate counsel’s

    withdrawal. Accordingly, Defendant knows that Plaintiff cannot adequately respond to

    Defendant’s discovery requests at this time, but has refused to extend Plaintiff’s deadline to

    respond. Defendant’s refusal is in direct contravention with the local rules of the Court, which

    state “it is a fundamental tenet of this Court that attorneys in this District be governed at all times

    by a spirit of cooperation, professionalism, and civility…it remains the Court’s expectation that




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    counsel will seek to accommodate their fellow practitioners, including in matters of scheduling,

    whenever reasonably possible.” S.D. Fla. L.R. at Introductory Statement.

            Plaintiff objects to this interrogatory in that it calls for information that is at least equally

    available to Defendant, including through public sources. Plaintiff objects to this interrogatory in

    that the requested information is not relevant to the extent that it seeks future plans. Plaintiff objects

    to this interrogatory to the extent that it seeks information that is a trade secret or confidential.

    INTERROGATORY NO. 11:

            Identify all persons with knowledge with regard to any claim or defense asserted by the

    Estate in connection with this proceeding and for each person so identified state the nature of such

    knowledge.

    RESPONSE TO INTERROGATORY NO. 11:

            Plaintiff objects to this interrogatory in that Plaintiff’s counsel filed a motion in the instant

    action to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and

    counsel have irreconcilable differences than cannot be resolved which necessitate counsel’s

    withdrawal. Accordingly, Defendant knows that Plaintiff cannot adequately respond to

    Defendant’s discovery requests at this time, but has refused to extend Plaintiff’s deadline to

    respond. Defendant’s refusal is in direct contravention with the local rules of the Court, which

    state “it is a fundamental tenet of this Court that attorneys in this District be governed at all times

    by a spirit of cooperation, professionalism, and civility…it remains the Court’s expectation that

    counsel will seek to accommodate their fellow practitioners, including in matters of scheduling,

    whenever reasonably possible.” S.D. Fla. L.R. at Introductory Statement.

            Plaintiff objects to this interrogatory as overly broad, unduly burdensome, and not

    proportionate to the needs of this case to the extent that it seeks identification of “all persons”



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    with any knowledge, no matter the amount. Plaintiff objects to this interrogatory to the extent that

    it seeks information that is protected from discovery by the attorney-client privilege, work product

    immunity, or other applicable privilege. Plaintiff objects to this interrogatory as premature in that

    discovery is ongoing.

    INTERROGATORY NO. 12:

           Identify all assignments, franchise agreements, settlement agreements, distribution

    agreements, and other agreements that relate to the use and/or acquisition of the Estate’s TS Mark

    and/or the Estate’s CTS Mark by the Estate.

    RESPONSE TO INTERROGATORY NO. 12:

           Plaintiff objects to this interrogatory in that Plaintiff’s counsel filed a motion in the instant

    action to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and

    counsel have irreconcilable differences than cannot be resolved which necessitate counsel’s

    withdrawal. Accordingly, Defendant knows that Plaintiff cannot adequately respond to

    Defendant’s discovery requests at this time, but has refused to extend Plaintiff’s deadline to

    respond. Defendant’s refusal is in direct contravention with the local rules of the Court, which

    state “it is a fundamental tenet of this Court that attorneys in this District be governed at all times

    by a spirit of cooperation, professionalism, and civility…it remains the Court’s expectation that

    counsel will seek to accommodate their fellow practitioners, including in matters of scheduling,

    whenever reasonably possible.” S.D. Fla. L.R. at Introductory Statement.

           Plaintiff objects to this interrogatory as overly broad, unduly burdensome, and not

    proportionate to the needs of this case to the extent that it seeks identification of “all assignments,

    franchise agreements, settlement agreements, distribution agreements, and other agreements”.

    Plaintiff objects to this interrogatory in that the requested information is not relevant. Plaintiff



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    objects to this interrogatory to the extent that it seeks information that is protected from discovery

    by the attorney-client privilege, work product immunity, or other applicable privilege. Plaintiff

    objects to this interrogatory to the extent that it seeks information that is a trade secret or

    confidential. Plaintiff objects to this interrogatory as containing multiple discrete subparts, each of

    which shall count against the total number of interrogatories allotted under Fed. R. Civ. P. 33.

    INTERROGATORY NO. 13:

            Identify the date and describe the circumstances when you first learned about MFF and

    MFF’s Mark.

    RESPONSE TO INTERROGATORY NO. 13:

            Plaintiff objects to this interrogatory in that Plaintiff’s counsel filed a motion in the instant

    action to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and

    counsel have irreconcilable differences than cannot be resolved which necessitate counsel’s

    withdrawal. Accordingly, Defendant knows that Plaintiff cannot adequately respond to

    Defendant’s discovery requests at this time, but has refused to extend Plaintiff’s deadline to

    respond. Defendant’s refusal is in direct contravention with the local rules of the Court, which

    state “it is a fundamental tenet of this Court that attorneys in this District be governed at all times

    by a spirit of cooperation, professionalism, and civility…it remains the Court’s expectation that

    counsel will seek to accommodate their fellow practitioners, including in matters of scheduling,

    whenever reasonably possible.” S.D. Fla. L.R. at Introductory Statement.

            Plaintiff objects to this interrogatory to the extent that it seeks information that is protected

    from discovery by the attorney-client privilege, work product immunity, or other applicable

    privilege. Plaintiff objects to this interrogatory to the extent that it seeks information that is a trade

    secret or confidential.



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    INTERROGATORY NO. 14:

            Identify all facts that support your allegation in Paragraph 5 of the Complaint that “The

    TIO SIMON mark is now owned by Tio Simon’s estate, Plaintiff, Sucesion Simon Diaz Marquez.”

    RESPONSE TO INTERROGATORY NO. 14:

            Plaintiff objects to this interrogatory in that Plaintiff’s counsel filed a motion in the instant

    action to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and

    counsel have irreconcilable differences than cannot be resolved which necessitate counsel’s

    withdrawal. Accordingly, Defendant knows that Plaintiff cannot adequately respond to

    Defendant’s discovery requests at this time, but has refused to extend Plaintiff’s deadline to

    respond. Defendant’s refusal is in direct contravention with the local rules of the Court, which

    state “it is a fundamental tenet of this Court that attorneys in this District be governed at all times

    by a spirit of cooperation, professionalism, and civility…it remains the Court’s expectation that

    counsel will seek to accommodate their fellow practitioners, including in matters of scheduling,

    whenever reasonably possible.” S.D. Fla. L.R. at Introductory Statement.

            Plaintiff objects to this interrogatory as vague, ambiguous, overly broad, and unduly

    burdensome as seeking information that is impossible to obtain after a reasonable search, to the

    extent that it seeks identification of “all facts”. Plaintiff objects to this interrogatory to the extent

    that it seeks information that is protected from discovery by the attorney-client privilege, work

    product immunity, or other applicable privilege. Plaintiff objects to this interrogatory to the extent

    that it seeks information that is a trade secret or confidential. Plaintiff objects to this interrogatory

    in that it calls for information that is at least equally available to Defendant, including through

    public sources. Plaintiff objects to this interrogatory as premature as discovery is ongoing.




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    INTERROGATORY NO. 15:

            Identify all facts that support your allegation in Paragraph 20 of the Complaint that “Tio

    Simon has also endorsed and/or licensed the TIO SIMON mark in connection with a number of

    products and services, including board games, song books and coffee.”

    RESPONSE TO INTERROGATORY NO. 15:

            Plaintiff objects to this interrogatory in that Plaintiff’s counsel filed a motion in the instant

    action to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and

    counsel have irreconcilable differences than cannot be resolved which necessitate counsel’s

    withdrawal. Accordingly, Defendant knows that Plaintiff cannot adequately respond to

    Defendant’s discovery requests at this time, but has refused to extend Plaintiff’s deadline to

    respond. Defendant’s refusal is in direct contravention with the local rules of the Court, which

    state “it is a fundamental tenet of this Court that attorneys in this District be governed at all times

    by a spirit of cooperation, professionalism, and civility…it remains the Court’s expectation that

    counsel will seek to accommodate their fellow practitioners, including in matters of scheduling,

    whenever reasonably possible.” S.D. Fla. L.R. at Introductory Statement.

            Plaintiff objects to this interrogatory as vague, ambiguous, overly broad, and unduly

    burdensome as seeking information that is impossible to obtain after a reasonable search, to the

    extent that it seeks identification of “all facts”. Plaintiff objects to this interrogatory to the extent

    that it seeks information that is protected from discovery by the attorney-client privilege, work

    product immunity, or other applicable privilege. Plaintiff objects to this interrogatory to the extent

    that it seeks information that is a trade secret or confidential. Plaintiff objects to this interrogatory

    in that it calls for information that is at least equally available to Defendant, including through

    public sources. Plaintiff objects to this interrogatory as premature as discovery is ongoing.



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    INTERROGATORY NO. 16:

             Identify all facts that support your allegation in Paragraph 27 of the Complaint that

    “Plaintiffs the successor to the rights of publicity and persona of Tio Sim6n and the TIO SIMON

    mark.”

    RESPONSE TO INTERROGATORY NO. 16:

             Plaintiff objects to this interrogatory in that Plaintiff’s counsel filed a motion in the instant

    action to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and

    counsel have irreconcilable differences than cannot be resolved which necessitate counsel’s

    withdrawal. Accordingly, Defendant knows that Plaintiff cannot adequately respond to

    Defendant’s discovery requests at this time, but has refused to extend Plaintiff’s deadline to

    respond. Defendant’s refusal is in direct contravention with the local rules of the Court, which

    state “it is a fundamental tenet of this Court that attorneys in this District be governed at all times

    by a spirit of cooperation, professionalism, and civility…it remains the Court’s expectation that

    counsel will seek to accommodate their fellow practitioners, including in matters of scheduling,

    whenever reasonably possible.” S.D. Fla. L.R. at Introductory Statement.

             Plaintiff objects to this interrogatory as vague, ambiguous, overly broad, and unduly

    burdensome as seeking information that is impossible to obtain after a reasonable search, to the

    extent that it seeks identification of “all facts”. Plaintiff objects to this interrogatory to the extent

    that it seeks information that is protected from discovery by the attorney-client privilege, work

    product immunity, or other applicable privilege. Plaintiff objects to this interrogatory to the extent

    that it seeks information that is a trade secret or confidential. Plaintiff objects to this interrogatory

    in that it calls for information that is at least equally available to Defendant, including through

    public sources. Plaintiff objects to this interrogatory as premature as discovery is ongoing.



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    INTERROGATORY NO. 17:

             Identify all facts that support your allegation in Paragraph 37 of the Complaint that

    “Plaintiff’s TIO SIMON mark was famous well before Defendants’ first use of the Infringing

    Mark.”

    RESPONSE TO INTERROGATORY NO. 17:

             Plaintiff objects to this interrogatory in that Plaintiff’s counsel filed a motion in the instant

    action to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and

    counsel have irreconcilable differences than cannot be resolved which necessitate counsel’s

    withdrawal. Accordingly, Defendant knows that Plaintiff cannot adequately respond to

    Defendant’s discovery requests at this time, but has refused to extend Plaintiff’s deadline to

    respond. Defendant’s refusal is in direct contravention with the local rules of the Court, which

    state “it is a fundamental tenet of this Court that attorneys in this District be governed at all times

    by a spirit of cooperation, professionalism, and civility…it remains the Court’s expectation that

    counsel will seek to accommodate their fellow practitioners, including in matters of scheduling,

    whenever reasonably possible.” S.D. Fla. L.R. at Introductory Statement.

             Plaintiff objects to this interrogatory as vague, ambiguous, overly broad, and unduly

    burdensome as seeking information that is impossible to obtain after a reasonable search, to the

    extent that it seeks identification of “all facts”. Plaintiff objects to this interrogatory to the extent

    that it seeks information that is protected from discovery by the attorney-client privilege, work

    product immunity, or other applicable privilege. Plaintiff objects to this interrogatory to the extent

    that it seeks information that is a trade secret or confidential. Plaintiff objects to this interrogatory

    in that it calls for information that is at least equally available to Defendant, including through

    public sources. Plaintiff objects to this interrogatory as premature as discovery is ongoing.



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    INTERROGATORY NO. 18:

            Identify all facts that support your allegation in Paragraph 40 of the Complaint that

    “Defendants are further taking actions that are deliberately aimed at passing off its goods as those

    of Plaintiff by misrepresenting that Tio Simon and his estate are the source of, or otherwise

    endorsing, Defendants’ goods.”

    RESPONSE TO INTERROGATORY NO. 18:

            Plaintiff objects to this interrogatory in that Plaintiff’s counsel filed a motion in the instant

    action to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and

    counsel have irreconcilable differences than cannot be resolved which necessitate counsel’s

    withdrawal. Accordingly, Defendant knows that Plaintiff cannot adequately respond to

    Defendant’s discovery requests at this time, but has refused to extend Plaintiff’s deadline to

    respond. Defendant’s refusal is in direct contravention with the local rules of the Court, which

    state “it is a fundamental tenet of this Court that attorneys in this District be governed at all times

    by a spirit of cooperation, professionalism, and civility…it remains the Court’s expectation that

    counsel will seek to accommodate their fellow practitioners, including in matters of scheduling,

    whenever reasonably possible.” S.D. Fla. L.R. at Introductory Statement.

            Plaintiff objects to this interrogatory as vague, ambiguous, overly broad, and unduly

    burdensome as seeking information that is impossible to obtain after a reasonable search, to the

    extent that it seeks identification of “all facts”. Plaintiff objects to this interrogatory to the extent

    that it seeks information that is protected from discovery by the attorney-client privilege, work

    product immunity, or other applicable privilege. Plaintiff objects to this interrogatory to the extent

    that it seeks information that is a trade secret or confidential. Plaintiff objects to this interrogatory

    in that it calls for information that is at least equally available to Defendant, including through



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    public sources. Plaintiff objects to this interrogatory to the extent that it seeks information already

    in Defendant’s possession or control. Plaintiff objects to this interrogatory as premature as

    discovery is ongoing.

    INTERROGATORY NO. 19:

            For each request denied as part of your responses to Defendant’s First Request for

    Admissions, identify the factual basis for your response.

    RESPONSE TO INTERROGATORY NO. 19:

            Plaintiff objects to this interrogatory in that Plaintiff’s counsel filed a motion in the instant

    action to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and

    counsel have irreconcilable differences than cannot be resolved which necessitate counsel’s

    withdrawal. Accordingly, Defendant knows that Plaintiff cannot adequately respond to

    Defendant’s discovery requests at this time, but has refused to extend Plaintiff’s deadline to

    respond. Defendant’s refusal is in direct contravention with the local rules of the Court, which

    state “it is a fundamental tenet of this Court that attorneys in this District be governed at all times

    by a spirit of cooperation, professionalism, and civility…it remains the Court’s expectation that

    counsel will seek to accommodate their fellow practitioners, including in matters of scheduling,

    whenever reasonably possible.” S.D. Fla. L.R. at Introductory Statement.

            Plaintiff objects to this interrogatory to the extent that it seeks information that is protected

    from discovery by the attorney-client privilege, work product immunity, or other applicable

    privilege. Plaintiff objects to this interrogatory to the extent that it seeks information that is a trade

    secret or confidential. Plaintiff objects to this interrogatory in that it calls for information that is at

    least equally available to Defendant, including through public sources. Plaintiff objects to this

    interrogatory to the extent that it seeks information already in Defendant’s possession or control.



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    INTERROGATORY NO. 20:

            With respect to the Estate, state whether the decedent Simon Diaz Marquez’s estate has

    been probated and if so, provide: (i) the court and file number; and (ii) the name of the individual

    appointed as Personal Representative.

    RESPONSE TO INTERROGATORY NO. 20:

            Plaintiff objects to this interrogatory in that Plaintiff’s counsel filed a motion in the instant

    action to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and

    counsel have irreconcilable differences than cannot be resolved which necessitate counsel’s

    withdrawal. Accordingly, Defendant knows that Plaintiff cannot adequately respond to

    Defendant’s discovery requests at this time, but has refused to extend Plaintiff’s deadline to

    respond. Defendant’s refusal is in direct contravention with the local rules of the Court, which

    state “it is a fundamental tenet of this Court that attorneys in this District be governed at all times

    by a spirit of cooperation, professionalism, and civility…it remains the Court’s expectation that

    counsel will seek to accommodate their fellow practitioners, including in matters of scheduling,

    whenever reasonably possible.” S.D. Fla. L.R. at Introductory Statement.

            Plaintiff objects to this interrogatory in that the requested information is not relevant.

    Plaintiff objects to this interrogatory in that it calls for information that is at least equally available

    to Defendant, including through public sources.

    INTERROGATORY NO. 21:

            Explains whether the decedent Simon Diaz Marquez ever legally changed his name during

    his lifetime and if so, state when, where and through what procedure.




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    RESPONSE TO INTERROGATORY NO. 21:

            Plaintiff objects to this interrogatory in that Plaintiff’s counsel filed a motion in the instant

    action to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and

    counsel have irreconcilable differences than cannot be resolved which necessitate counsel’s

    withdrawal. Accordingly, Defendant knows that Plaintiff cannot adequately respond to

    Defendant’s discovery requests at this time, but has refused to extend Plaintiff’s deadline to

    respond. Defendant’s refusal is in direct contravention with the local rules of the Court, which

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    counsel will seek to accommodate their fellow practitioners, including in matters of scheduling,

    whenever reasonably possible.” S.D. Fla. L.R. at Introductory Statement.

            Plaintiff objects to this interrogatory in that the requested information is not relevant.

    Plaintiff objects to this interrogatory in that it calls for information that is at least equally available

    to Defendant, including through public sources.

    INTERROGATORY NO. 22:

            Detail each occurrence in which any individual or entity has opposed or otherwise

    contested the Estate’s use and/or registration of the TS Mark and/or the CTS Mark. For each

    occurrence, identify the parties involved, the date, the forum where the challenge, objection, or

    opposition was raised, the resolution of the issue, and the individuals with knowledge of the facts.

    RESPONSE TO INTERROGATORY NO. 22:

            Plaintiff objects to this interrogatory in that Plaintiff’s counsel filed a motion in the instant

    action to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and

    counsel have irreconcilable differences than cannot be resolved which necessitate counsel’s



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    withdrawal. Accordingly, Defendant knows that Plaintiff cannot adequately respond to

    Defendant’s discovery requests at this time, but has refused to extend Plaintiff’s deadline to

    respond. Defendant’s refusal is in direct contravention with the local rules of the Court, which

    state “it is a fundamental tenet of this Court that attorneys in this District be governed at all times

    by a spirit of cooperation, professionalism, and civility…it remains the Court’s expectation that

    counsel will seek to accommodate their fellow practitioners, including in matters of scheduling,

    whenever reasonably possible.” S.D. Fla. L.R. at Introductory Statement.

            Plaintiff objects to this interrogatory in that the requested information is not relevant.

    Plaintiff objects to this interrogatory in that it calls for information that is at least equally available

    to Defendant, including through public sources. Plaintiff objects to this interrogatory to the extent

    that it seeks information that is a trade secret or confidential. Plaintiff objects to this interrogatory

    as containing multiple discrete subparts, each of which shall count against the total number of

    interrogatories allotted under Fed. R. Civ. P. 33.

    Dated: West Palm Beach, FL
         March 8, 2024
                                                        By: /Ben Natter/           .
                                                            Ben Natter
                                                            Fla. Bar No. 1050054
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                                                             Attorneys for Plaintiff


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                                    CERTIFICATE OF SERVICE

           I hereby certify that on this 8th day of March, 2024, I caused a true and correct copy of the

    foregoing Sucesión Simon Diaz Marquez’s Responses and Objections to Miami Fine Foods,

    LLC’s First Set of Interrogatories to be served via e-mail upon Defendants’ counsel of record

    at the following email addresses.

           Javier Dario Coronado Diaz
           Prince-Alex Oluebube Iwu
           Zhen Pan
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                                                                         /Clarissa Toth/       .
                                                                          Clarissa Toth
